                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

DAVID DELL’AQUILA, LORANNDA                         )
BORJA, TODD CHESNEY, and BRENT                      )
WEBER, on behalf of                                 )
themselves and all others similarly situated,       )
                                                    )
                              Plaintiffs,           )
                                                    )    No: 3:19-cv-00679
       - against -                                  )    Judge William L. Campbell Jr.
                                                    )
NATIONAL RIFLE ASSOCIATION                          )    Magistrate Judge Chip Frensley
OF AMERICA.                                         )
                                                    )
                              Defendant.            )


                     NRA’S ANSWER AND AFFIRMATIVE DEFENSES

       Defendant National Rifle Association of America (the “NRA”), by and through

undersigned counsel, respectfully submits the following Answer and Affirmative Defenses to

Plaintiffs’ Second Amended Complaint [Doc. 43]:

                                      Parties & Jurisdiction

   1. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 1.

   2. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 2.

   3. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 3.

   4. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 4.

   5. The NRA denies that Wayne LaPierre is a Defendant in this case because the claims

       against him have been dismissed. The NRA admits the remaining allegations in

       Paragraph 5.

   6. Admitted.




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7. The allegations in Paragraph 7 refer to claims that have been dismissed and require no

   response.

8. Admitted.

                                        Background

9. Admitted.

10. Denied. The NRA is America’s leading provider of gun-safety and marksmanship

   education for civilians and law enforcement. It is also the foremost defender of the

   Second Amendment of the United States Constitution.

11. The NRA admits that it encourages donations by many channels, including by use of web

   pages, email, and mail. The NRA admits that its website contains the quoted text. The

   NRA denies the remaining allegations in Paragraph 11.

12. The NRA denies the allegations in the first sentence of Paragraph 12. The NRA admits

   the allegations in the second and last sentences of Paragraph 12. The NRA admits that a

   lifetime membership costs $1,500.

13. The NRA admits that its website contains the quoted text. The NRA denies the remaining

   allegations in Paragraph 13.

14. The NRA admits that its website contains a “Uniform Disclosure Statement.” The NRA

   admits that it has provided copies of the “Uniform Disclosure Statement” to donors. The

   NRA admits that the “Uniform Disclosure Statement” contains the quoted text. The NRA

   denies the remaining allegations in Paragraph 14.

15. The NRA admits that donations to the NRA are not tax deductible. The NRA denies the

   remaining allegations in Paragraph 15.

16. Admitted.



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17. The allegations in Paragraph 17 refer to claims that have been dismissed and require no

   response.

18. The allegations in Paragraph 18 refer to claims that have been dismissed and require no

   response.

19. The allegations in Paragraph 19 refer to claims that have been dismissed and require no

   response.

20. The allegations in Paragraph 20 refer to claims that have been dismissed and require no

   response.

21. The NRA admits that the three statements identified in the preceding paragraphs

   appeared on the NRA website for at least part of the time between November 30, 2015

   through January 26, 2019. The NRA denies the remaining allegations in Paragraph 21.

22. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 22.

23. The NRA admits that the quoted text appears on the website cited by Plaintiffs and

   appears to show that the quoted text appeared on the NRA website on February 2, 2016.

   The NRA denies the remaining allegations in Paragraph 23.

24. The NRA admits that Wayne LaPierre has served as the Executive Vice President and

   Chief Executive Officer of the NRA since 1991. Wayne LaPierre is no longer a

   Defendant in this case.

25. The NRA admits that Wayne LaPierre has encouraged donations to the NRA. The NRA

   admits that, on July 21, 2014, an email was sent from Wayne LaPierre’s email address to

   NRA members that contained the quoted text. The NRA denies the remaining allegations

   in Paragraph 25.




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26. The NRA admits that, on July 18, 2019, an email was sent from Wayne LaPierre’s email

   address to NRA members that contained the quoted text. The NRA denies the remaining

   allegations in Paragraph 26.

27. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 27.

28. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 28.

29. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 29.

30. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 30.

31. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 31.

32. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 32.

33. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 33.

34. The NRA admits that it has provided copies of the “Uniform Disclosure Statement” to

   members. The NRA lacks sufficient information to admit or deny the remaining

   allegations in Paragraph 34.

35. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 35.

36. Denied.

37. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 37.

38. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 38.

39. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 39.

40. The NRA lacks sufficient information to admit or deny the allegations in Paragraph 40.

41. Denied.

42. Denied.

43. Denied.

44. Admitted.



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45. Denied.

46. Denied.

47. The NRA admits that, on April 17, 2019, an article appeared in the New Yorker with the

quoted text. The NRA denies the remaining allegations in Paragraph 47.

48. The NRA admits that it received a letter, dated April 18, 2019, signed by Oliver North,

that refers to the allegations contained in Paragraph 48. The NRA denies the remaining

allegations in Paragraph 48.

49. The NRA admits that Ackerman McQueen, Inc. made allegations as referenced in

Paragraph 49. The allegation in the second sentence characterizes a document to which no

response is required. The NRA denies the remaining allegations in Paragraph 49.

50. The NRA admits that Oliver North made allegations as alleged in the preceding

paragraphs. The NRA denies the remaining allegations in Paragraph 50.

51. The NRA admits that the NRA Board of Directors received a letter, dated April 25, 2019,

signed by Oliver North, that stated his alleged intention to form a “Crisis Management

Committee” with the stated purpose of investigating the allegations referenced in Paragraph

51. The NRA denies the remaining allegations in Paragraph 51.

52. Denied.

53. Denied.

54. Denied.

                                 Class Action Allegations

55. The NRA admits that Plaintiffs bring this action on behalf of themselves and a single

   nationwide putative class. The NRA denies the remaining allegations in Paragraph 55.

56. Denied.



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57. The allegations in Paragraph 57 refer to claims that have been dismissed and require no

   response.

58. Denied.

59. Denied.

60. Denied.

61. Denied.

62. The allegations in Paragraph 62 refer to claims that have been dismissed and require no

   response.

63. Denied.

64. The allegations in Paragraph 64 refer to claims that have been dismissed and require no

   response.

65. Denied.

66. Denied.

67. Denied.

68. Denied.

                                         COUNT I

                                            Fraud

   Dell’Aquila, Borja, Chesney and Weber and NRA Class v. LaPierre and the NRA

69. The NRA incorporates by reference its responses to the preceding paragraphs.

70. The NRA admits that, during the time period November 30, 2015 to January 26, 2019, it

   encouraged donations. The NRA lacks sufficient information to admit or deny the

   remaining allegations in Paragraph 70.

71. Denied.



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72. Denied.

73. Denied.

74. Denied.

75. Denied.

76. Denied.

77. Denied.

                                         COUNT II

                                           Fraud

     Dell’Aquila and NRA Foundation Class v. LaPierre and the NRA Foundation

78. The NRA incorporates by reference its responses to the preceding paragraphs.

79. The allegations in Paragraph 79 refer to claims that have been dismissed and require no

   response.

80. The allegations in Paragraph 80 refer to claims that have been dismissed and require no

   response.

81. The allegations in Paragraph 81 refer to claims that have been dismissed and require no

   response.

82. The allegations in Paragraph 82 refer to claims that have been dismissed and require no

   response.

83. The allegations in Paragraph 83 refer to claims that have been dismissed and require no

   response.

84. The allegations in Paragraph 84 refer to claims that have been dismissed and require no

   response.




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85. The allegations in Paragraph 85 refer to claims that have been dismissed and require no

   response.

86. The allegations in Paragraph 86 refer to claims that have been dismissed and require no

   response.

                                      COUNT III

                                   Violation of RICO

 Dell’Aquila, Borja, Chesney, Weber and the NRA Class v. LaPierre and the NRA

87. The NRA incorporates by reference its responses to the preceding paragraphs.

88. The allegations in Paragraph 88 refer to claims that have been dismissed and require no

   response.

89. The allegations in Paragraph 89 refer to claims that have been dismissed and require no

   response.

90. The allegations in Paragraph 90 refer to claims that have been dismissed and require no

   response.

91. The allegations in Paragraph 91 refer to claims that have been dismissed and require no

   response.

92. The allegations in Paragraph 92 refer to claims that have been dismissed and require no

   response.

93. The allegations in Paragraph 93 refer to claims that have been dismissed and require no

   response.

94. The allegations in Paragraph 94 refer to claims that have been dismissed and require no

   response.




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95. The allegations in Paragraph 95 refer to claims that have been dismissed and require no

    response.

96. The allegations in Paragraph 96 refer to claims that have been dismissed and require no

    response.

97. The allegations in Paragraph 97 refer to claims that have been dismissed and require no

    response.

98. The allegations in Paragraph 98 refer to claims that have been dismissed and require no

    response.

99. The allegations in Paragraph 99 refer to claims that have been dismissed and require no

    response.

100. The allegations in Paragraph 100 refer to claims that have been dismissed and require no

    response.

                                         COUNT IV

                                     Violation of RICO

     Dell’Aquila and NRA Foundation Class v. LaPierre and the NRA Foundation

101. The NRA incorporates by reference its responses to the preceding paragraphs.

102. The allegations in Paragraph 102 refer to claims that have been dismissed and require no

    response.

103. The allegations in Paragraph 103 refer to claims that have been dismissed and require no

    response.

104. The allegations in Paragraph 104 refer to claims that have been dismissed and require no

    response.




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  105. The allegations in Paragraph 105 refer to claims that have been dismissed and require no

       response.

  106. The allegations in Paragraph 106 refer to claims that have been dismissed and require no

       response.

  107. The allegations in Paragraph 107 refer to claims that have been dismissed and require no

       response.

  108. The allegations in Paragraph 108 refer to claims that have been dismissed and require no

       response.

  109. The allegations in Paragraph 109 refer to claims that have been dismissed and require no

       response.

  110. The allegations in Paragraph 110 refer to claims that have been dismissed and require no

       response.

  111. The allegations in Paragraph 111 refer to claims that have been dismissed and require no

       response.

  112. The allegations in Paragraph 112 refer to claims that have been dismissed and require no

       response.

  113. The allegations in Paragraph 113 refer to claims that have been dismissed and require no

       response.

  114. The allegations in Paragraph 114 refer to claims that have been dismissed and require no

       response.

                                       Affirmative Defenses

                                    First Affirmative Defense

Plaintiffs’ claim is barred by the doctrine of waiver.



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                                   Second Affirmative Defense

Plaintiffs’ claim is barred by the doctrine of estoppel.

                                    Third Affirmative Defense

Plaintiffs’ claim is barred by the doctrine of unclean hands.

                                   Fourth Affirmative Defense

Plaintiffs’ claim is barred by the doctrine of laches.

                                           Jury Demand

The NRA hereby demands a trial by jury on all claims and issues so triable

WHEREFORE, the NRA respectfully requests that this court dismiss this action in its entirety

with prejudice, with Plaintiffs to bear the costs of all parties, and any other just and equitable

relief this court deems appropriate.



                                               By:         W. Allen McDonald
                                                         W. Allen McDonald
                                                         LACY, PRICE & WAGNER PC
                                                         249 N. Peters Rd., Suite 101
                                                         Knoxville, TN 37923
                                                         (865)-246-0800

                                                         BREWER, ATTORNEYS &
                                                         COUNSELORS
                                                         William A. Brewer IV (admitted pro hac
                                                         vice)
                                                         750 Lexington Avenue, 14th Floor
                                                         New York, NY 10022
                                                         (212)-489-1400


                                                         ATTORNEYS FOR THE NATIONAL
                                                         RIFLE ASSOCIATION OF AMERICA




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                                 CERTIFICATE OF SERVICE

       I, W. Allen McDonald, hereby certify that I served a true and correct copy of the

foregoing Answer and Affirmative Defenses to Plaintiffs’ Second Amended Complaint on the

following parties on October 19, 2020 by means of the Court’s CM/ECF system, which will send

notification to all counsel of record as listed below.

William A. Brewer, Esq.
Email: wbb@brewerattorneys.com
Co-Counsel for Wayne LaPierre and
National Rifle Association

Aubrey B. Harwell , Jr., Esq.
Email: aharwell@nealharwell.com
Counsel for NRA Foundation, Inc.

John E. Quinn
Email: jquinn@nealharwell.com
Counsel for NRA Foundation, Inc.

William J. Harbison , II, Esq.
Email: jharbison@nealharwell.com
Counsel for NRA Foundation, Inc.

Elliott J. Schuchardt
Email: elliott016@gmail.com
Counsel for Plaintiffs

       Date: October 19, 2020

                                                         /s/ W. Allen McDonald




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